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                                            IN THE UNITED STATES BANKRUPTCY COURT
                                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                                         Alexandria Division
                         IN RE

                         JEFFREY D. PATTOCK                          Case No. 18-12974-BFK
                         NADINE R. PATTOCK                           Chapter 7

                              Debtors
                         THE BANK OF NEW YORK MELLON
                         F/K/A THE BANK OF NEW YORK AS
                         SUCCESSOR IN INTEREST TO JP
                         MORGAN CHASE BANK, N.A., AS
                         TRUSTEE FOR CENTEX HOME
                         EQUITY LOAN TRUST 2005-B                    Motion No.
                         8950 Cypress Waters Blvd
                         Coppell, TX 75019

                              Movant
                         v.

                         JEFFREY D. PATTOCK
                         NADINE R. PATTOCK
                         47 Liberty Knolls Drive
                         Stafford, VA 22554

                         and

                         JANET M. MEIBURGER
                         CHAPTER 7 TRUSTEE
                         The Meiburger Law Firm, PC
                         1493 Chain Bridge Road, Suite 201
                         McLean, VA 22101

                              Respondents

    MARK MEYER
                                            MOTION FOR RELIEF FROM AUTOMATIC STAY
   DC BAR 475552
   MD BAR 15070
   VA BAR 74290
                                COMES NOW, THE BANK OF NEW YORK MELLON F/K/A THE BANK OF
     ROSENBERG &
                         NEW YORK as successor in interest to JP Morgan Chase Bank, N.A., as Trustee
   ASSOCIATES, LLC       for Centex Home Equity Loan Trust 2005-B, its successors and/or assigns, movant,
4340 East West Highway
       SUITE 600         by its attorneys, Mark D. Meyer, Esq., and Rosenberg & Associates, LLC, and
 BETHESDA, MD 20814
    (301) 907-8000       respectfully represents as follows:
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                               1. Jurisdiction is based on 11 U.S.C. Section 362(d)-(f).

                               2. On or about August 30, 2018, Jeffrey D. Pattock and Nadine R. Pattock
                         ("Debtors") filed a Voluntary Petition in the Court under Chapter 7 of the Bankruptcy
                         Code.

                               3. Janet M. Meiburger is the Chapter 7 trustee of the Debtors' estate.

                               4. At the time of the initiation of these proceedings, the Debtors owned a
                         parcel of fee simple real estate improved by a residence with a legal description of
                         "LOT 12, BLOCK 4, NEW CITY BLOCK 15915, BABCOCK PLACE, UNIT 2,
                         SITUATED IN THE CITY OF SAN ANTONIO, BEXAR COUNTY TEXAS,
                         ACCORDING TO THE PLAT THEREOF RECORDED IN VOLUME 5800, PAGE
                         103, DEED AND PLAT RECORDS OF BEXAR COUNTY TEXAS. TAX ID/IN:
                         159150040120 Property Address: 6722 SPRING FOREST SAN ANTONIO, TX
                         78249" also known as 6722 Spring Forest, San Antonio, TX 78249 (hereinafter "the
                         subject property").

                               5. The subject property is encumbered by a Deed of Trust securing the note,
                         which is currently held by the movant. Attached are redacted copies of any
                         documents that support the claim, such as promissory notes, purchase order,
                         invoices, itemized statements of running accounts, contracts, judgments,
                         mortgages and security agreements in support of right to seek a lift of the
                         automatic stay and foreclose if necessary.

                               6. THE BANK OF NEW YORK MELLON F/K/A THE BANK OF NEW YORK
                         as successor in interest to JP Morgan Chase Bank, N.A., as Trustee for Centex
                         Home Equity Loan Trust 2005-B directly or through an agent, has possession of
                         the promissory note and held the note at the time of filing of the Movant’s Motion
                         for Relief from the Stay. The promissory note has been duly indorsed.

                               7. The total amount due under the Deed of Trust securing the Movant as of
                         September 4, 2018, including attorney's fees and court costs, is approximately
                         $58,232.92.

                               8. The Debtors are in default under the Deed of Trust, and the Movant has
                         accelerated the entire balance of the Note and Mortgage and interest continues to
    MARK MEYER
                         accrue.
   DC BAR 475552
   MD BAR 15070
   VA BAR 74290                 9. The Debtors are behind in their monthly mortgage payments, and equity
     ROSENBERG &         in the Debtors' residence is dissipating.
   ASSOCIATES, LLC
4340 East West Highway
       SUITE 600
 BETHESDA, MD 20814
                               10. The Movant lacks adequate protection of its interest in the subject
    (301) 907-8000       property.
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                                 11. The Movant has been and continues to be irreparably injured by the stay
                         of Section 362 of the Bankruptcy Code, which prevents the Movant from enforcing
                         its rights under the Note and Deed of Trust.

                              12. Cause exists for lifting the automatic stay imposed by Section 362 of the
                         Bankruptcy Code to enable the Movant to enforce its rights under its Note and
                         Deed of Trust.

                                WHEREFORE, the Movant, THE BANK OF NEW YORK MELLON F/K/A
                         THE BANK OF NEW YORK as successor in interest to JP Morgan Chase Bank,
                         N.A., as Trustee for Centex Home Equity Loan Trust 2005-B its successors and/or
                         assigns, respectfully requests that this Honorable Court:

                                 1. Enter an order terminating the automatic stay imposed by Section 362 of
                         the Bankruptcy Code to enable it to proceed with a foreclosure sale, accept a deed
                         in lieu or agree to a short sale of the real property and improvements located at
                         6722 Spring Forest, San Antonio, TX 78249; and

                               2. Grant such other and further relief as may be just and necessary.


                                                              ___________________________________
                                                              /s/ Mark D. Meyer, Esq.
                                                              Mark D. Meyer, Esq.
                                                              VA Bar 74290

                                                              Rosenberg & Associates, LLC
                                                              4340 East West Highway, Suite 600
                                                              Bethesda, MD 20814
                                                              301-907-8000




    MARK MEYER
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   MD BAR 15070
   VA BAR 74290

     ROSENBERG &
   ASSOCIATES, LLC
4340 East West Highway
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                                                     CERTIFICATE OF SERVICE
                               I hereby certify that on the 10th day of September, 2018, I reviewed the
                         Court’s CM/ECF system and it reports that an electronic copy of the foregoing
                         Motion for Relief from the Automatic Stay will be served electronically by the
                         Court’s CM/ECF system on the following:

                         Janet M. Meiburger, Trustee

                         Robert R. Weed, Esquire

                                I hereby further certify that on the 10th day of September, 2018, a copy of
                         the foregoing Motion for Relief from the Automatic Stay was also mailed first class
                         mail, postage prepaid to:

                         Jeffrey D. Pattock
                         47 Liberty Knolls Drive
                         Stafford, VA 22554

                         Nadine R. Pattock
                         47 Liberty Knolls Drive
                         Stafford, VA 22554

                                                              /s/ Mark D. Meyer, Esq.
                                                              ___________________________________
                                                              Mark D. Meyer, Esq.




    MARK MEYER
   DC BAR 475552
   MD BAR 15070
   VA BAR 74290

     ROSENBERG &
   ASSOCIATES, LLC
4340 East West Highway
       SUITE 600
 BETHESDA, MD 20814
    (301) 907-8000
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